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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

Javanna Shay,                                             Case No.

          Plaintiff,

v.

MediCredit, Inc.                                                      COMPLAINT
c/o CT Corporation System
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,

          Defendant.                                      Jury Demand Requested

                                    JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §1331 and 15 U.S.C. §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff is a resident of the State of Illinois.

     4- Plaintiff incurred an obligation to pay money, the primary purpose of which was for

         personal, family, or household uses (the “Debt”).

     5- Defendant is a corporation with its principal place of business in the State of Missouri.

     6- Defendant uses instruments of interstate commerce for its principal purpose of business,

         which it the collection of debts.

     7- Defendant regularly attempts to collects, or attempts to collect, debts owed or due another.

     8- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.




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                         FACTS COMMON TO ALL COUNTS

9- On or around November 13, 2014, Plaintiff filed a voluntary bankruptcy petition that

   included the Debt.

10- Despite the bankruptcy filing, in or around March 2015, Defendant telephoned Plaintiff

   several times to collect the Debt.

11- On or around March 12, 2015, Plaintiff notified Defendant that she had filed bankruptcy

   and the Debt was included.

12- Despite being notified on March 12, 2015 of the bankruptcy, Defendant telephoned

   Plaintiff at least 2 times thereafter.

13- At the time of these communications, Defendant knew, or should have known, about

   Plaintiff’s bankruptcy filing.

14- Defendant damaged Plaintiff.

15- Defendant violated the FDCPA.

                                             COUNT I

16- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

17- Defendant violated 15 USC § 1692e(2) by attempting to collect a debt that Defendant

   knew, or should have known, was included in Plaintiff’s bankruptcy, thereby

   misrepresenting the legal status of the debt

                                             COUNT II

18- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.




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19- Defendant violated 15 USC § 1692e(10) by falsely representing to Plaintiff that it could

    collect a debt that Defendant knew, or should have known, was included in Plaintiff’s

    bankruptcy.

                                                COUNT III

20- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

21- Defendant violated 15 USC § 1692f by unfairly and unconscionably trying to collect a

    debt that Defendant knew, or should have known, was included in Plaintiff’s bankruptcy.

                                                COUNT IV

22- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

23- Defendant violated 15 USC § 1692c(a)(2) by communicating with a consumer after

    Defendant knew, or should have known, that Plaintiff was represented by an attorney

    regarding the debt.

                                         JURY DEMAND

24- Plaintiff demands a trial by jury.

                                   PRAYER FOR RELIEF

25- Plaintiff prays for the following relief:

            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at

                trial, suffered as a direct and proximate result Defendant’s violations of the

                Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

            b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

                violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

                §1692k(a)(2)(A);




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      c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

         incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

      d. Any other legal and/or equitable relief as the Court deems appropriate.

                                    RESPECTFULLY SUBMITTED,

                                    Meier LLC

                                    By: /s/ Richard J. Meier
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